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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    -----------------------------------------------------------------------x
    JOSEF VOLMAN
                                                                                Case No. _____________
                                                Plaintiff,
                        -against-
                                                                                COMPLAINT

    PIZZA-PLUS BOWLAPASTA BROS. INC.
    and HO YING INC.,


                                                Defendants.
    ------------------------------------------------------------------------x




         Plaintiff Josef Volman (hereafter referred to as "plaintiff”), by counsel, Gabriel A.

 Levy. P.C., as and for the Complaint in this action against defendants Pizza-Plus Bowlapasta

 Bros. Inc. and Ho Ying Inc. (together referred to as "defendants"), hereby alleges as follows:

                                    NATURE OF THE CLAIMS

         1.           This lawsuit opposes pervasive, ongoing and inexcusable disability

 discrimination by the defendants. In this action, plaintiff seeks declaratory, injunctive and

 equitable relief, as well as monetary damages and attorney’s fees, costs and expenses to redress

 defendants’ unlawful disability discrimination against plaintiff, in violation of Title III of the

 Americans with Disabilities Act (“ADA”) 42 U.S.C. §§ 12181 et. seq. and its implementing

 regulations, the New York State Executive Law (the "Executive Law''), § 296, New York State

 Civil Rights Law, § 40, and the Administrative Code of the City New York (the ''Administrative

 Code''), § 8-107. As explained more fully below, defendants own, lease, lease to, operate and control a

 place of public accommodation that violates the above-mentioned laws. Defendants are vicariously

 liable for the acts and omissions of their employees and agents for the conduct alleged herein.




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        2.       These defendants made a financial decision to ignore the explicit legal

 requirements for making their place of public accommodation accessible to persons with

 disabilities – all in the hopes that they would never be caught. In so doing, defendants made a

 calculated, but unlawful, decision that disabled customers are not worthy. The day has come

 for defendants to accept responsibility. This action seeks to right that wrong by making

 defendants’ place of public accommodation fully accessible so that plaintiff can finally enjoy

 the full and equal opportunity that defendants provide to non-disabled customers.

                               JURISDICTION AND VENUE

        3.          This Court has jurisdiction over this matter pursuant to 42 U.S.C. § 12188

 and 28 U.S.C. §§ 1331 and 1343 as this action involves federal questions regarding the

 deprivation of plaintiff's rights under the ADA. The Court has supplemental jurisdiction over

 plaintiff's related claims arising under the New York State and City laws pursuant to 28 U.S.C.

 § 1367(a).

        4.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because

 defendants’ acts of discrimination alleged herein occurred in this district and defendants’ place

 of public accommodation that is the subject of this action is located in this district.

                                           PARTIES

        5.       At all times relevant to this action, plaintiff has been and remains a resident of

 the State of New Jersey.

        6.       At all times relevant to this action, plaintiff has been and remains bound to

 ambulate in a wheelchair, having been born with spastic diplegia cerebral palsy with mild

 involvement of the right arm. As a result, Plaintiff suffers from medical conditions that inhibit

 walking and restrict body motion range and movement.

        7.       Plaintiff lives 10 minutes away from New York and is currently working as a
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 DJ and entertainer throughout the New York area.

         8.         At all relevant times, the defendants operate and/or lease property located at or

 about 359 7th Avenue, Brooklyn, New York 11215 (hereinafter referred to as the “Premises”).

         9.         Each defendant is licensed to and/ or does business in New York State.

         10.        At all relevant times, the defendants operate a place of public accommodation

 at the Premises.


                 ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

         11.        Each of the defendants is a public accommodation as they own, lease, lease to,

 control or operate a place of public accommodation, the Premises, within the meaning of the

 ADA (42 U.S.C. § 12181 and 28 C.F.R. § 36.104), the Executive Law (§ 292(9)) and the

 Administrative Code (§ 8- 102(9)).

         12.        The Premises is a place of public accommodation within the meaning of the

 ADA (42 U.S.C. § 12181 and 28 C.F.R. § 36.104), the Executive Law (§ 292(9)) and the

 Administrative Code (§ 8-102(9)) as it is a facility operated by a private entity and its

 operations affect commerce.

         13.        Numerous architectural barriers exist at defendants’ place of public

 accommodation (the “Premises”) that prevent and/or restrict access to plaintiff, a person with

 a disability.

         14.        Upon information and belief, the Premises was designed and constructed for

 first possession after January 26, 1993.

         15.        Upon information and belief, at some time after January 1992, defendants

 made alterations to the Premises, including areas adjacent and/or attached to the Premises.

         16.        Upon information and belief, at some time after January 1992, defendants

 made alterations to the Premises.
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             17.      Within the past three years of filing this action, plaintiff attempted to and

      desired to access the Premises.

             18.      Plaintiff travels within the New York area on a regular basis as part of his work

      as a DJ and intends on returning to the Premises in the future.

             19.      The services, features, elements and spaces of defendants’ place of public

      accommodation are not readily accessible to, or usable by plaintiff as required by the

      Americans with Disabilities Act Accessibility Guidelines, 28 C.F.R. Part 36, Appendix A, and

      adopted by the United States Department of Justice in 1991 as the Standards for Accessible

      Design (“1991 Standards”) or the revised final regulations implementing Title III of the ADA

      adopted by the United States Department of Justice in 2010 as the 2010 Standards for

      Accessible Design (“2010 Standards”).

             20.      Because of defendants’ failure to comply with the above-mentioned laws,

      including but not limited to the 1991 Standards or the 2010 Standards and the Administrative

      Code, plaintiff was and has been unable to enjoy safe, equal and complete access to defendants’

      place of public accommodation.

             21.      Defendants' place of public accommodation has not been designed,

      constructed, or altered in compliance with the 1991 Standards, the 2010 Standards, the

      Administrative Code, the Building Code of the City of New York (“BCCNY”), or the 2014

      New York City Construction Code (“2014 NYC”).

             22.      Barriers to access that plaintiff encountered and/or which deter plaintiff from

      patronizing the defendants’ place of public accommodation as well as barriers that exist

      include, but are not limited to, the following:

I.    INACCESSIBLE ENTRANCE. ACCESSIBLE ROUTE TO ESTABLISHMENT NOT PROVIDED
      AS REQUIRED. ACCESSIBLE MEANS OF EGRESS NOT PROVIDED AS REQUIRED.


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        EXISTING STEPS AT ENTRANCE ACTS AS A BARRIER TO ACCESSIBILITY. REQUIRED
        RAMP NOT PROVIDED FOR STEP AT ENTRANCE.
           a. Accessible routes shall be provided in accordance with 206 and shall comply with Chapter 4.
              Accessible routes shall be provided where required by 206.2. At least one accessible route
              shall be provided within the site from accessible parking spaces and accessible passenger
              loading zones; public streets and sidewalks; and public transportation stops to the accessible
              building or facility entrance they serve. Entrances shall be provided in accordance with
              206.4. Entrance doors, doorways, and gates shall comply with 404 and shall be on an
              accessible route complying with 402. In addition to entrances required by 206.4.2 through
              206.4.9, at least 60 percent of all public entrances shall comply with 404. Means of egress
              shall comply with section 1003.2.13 of the International Building Code (2000 edition and
              2001 Supplement) or section 1007 of the International Building Code (2003 edition)
              (incorporated by reference, “Referenced Standards” in Chapter 1). Changes in level shall
              comply with 303. Changes in level greater than ½ inch high shall be ramped, and shall
              comply with 405 or 406.
 II.    REQUIRED MINIMUM MANEUVERING CLEARANCE NOT PROVIDED AT ENTRANCES.
        NON-COMPLIANT CHANGE IN FLOOR LEVEL WITHIN REQUIRD MANUEVERING
        CLEARANCE AT ENTRANCES.
           a. Minimum maneuvering clearances at doors and gates shall comply with 404.2.4.
              Maneuvering clearances shall extend the full width of the doorway and the required latch
              side or hinge side clearance. Floor or ground surface within required maneuvering clearances
              shall comply with 302.Changes in level are not permitted.
III.    INACCESSIBLE DINING TABLES AT INTERIOR DINING AREA. REQUIRED MINIMUM
        KNEE AND TOE CLEARANCE NOT PROVIDED AT DINING TABLES. A MINIMUM
        PERCENTAGE OF EXISTING DINING TABLES REQUIRED TO BE ACCESSIBLE NOT
        PROVIDED.
           a. Where dining surfaces are provided for the consumption of food or drink, at least 5 percent
              of the seating spaces and standing spaces at the dining surfaces shall comply with 902.
              Dining surfaces and work surfaces shall comply with 902.2 and 902.3. A clear floor space
              complying with 305 positioned for a forward approach shall be provided. Knee and toe
              clearance complying with 306 shall be provided. Where toe clearance is required at an
              element as part of a clear floor space, the toe clearance shall extend 17 inches (430 mm)
              minimum under the element. Toe clearance shall be 30 inches (760 mm) wide minimum.
              Where knee clearance is required under an element as part of a clear floor space, the knee
              clearance shall be 11 inches deep minimum at 9 inches above the ground, and 8 inches deep
              minimum at 27 inches (685 mm) above the finish floor or ground. Knee clearance shall be 30
              inches (760 mm) wide minimum.
IV.     INACCESSIBLE SERVICE COUNTER. NON-COMPLIANT HEIGHT OF SERVICE COUNTER
        EXCEEDS MAXIMUM HEIGHT ALLOWANCE.
           a. Where provided, check-out aisles, sales counters, service counters, food service lines, queues,
              and waiting lines shall comply with 227 and 904. Sales counters and service counters shall
              comply with 904.4.1 and 904.4.2. The accessible portion of the counter top shall not extend
              the same depth as the sales or service counter top. A portion of the counter surface that is 36
              inches (915 mm) long minimum and 36 inches (916 mm) high maximum above the finish floor
              shall be provided. A clear floor or ground space complying with 305 shall be positioned for a
              parallel approach adjacent to the 36 inch (915 mm) minimum length of counter.


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  V.     INACCESSIBLE SELF SERVICE BEVERAGE COOLER DISPLAYING BEVERAGES FOR
         PURCHASE. NON-COMPLIANCE HEIGHT OF SHELVES IN SELF SERVICE BEVERAGE
         COOLER EXCEEDS MAXIMUM HEIGHT ALLOWANCE.
            a. Self-servicing shelves and dispensing devices for tableware, dishware, condiments, food and
               beverages shall comply with 308. Where a forward reach is unobstructed, the high forward
               reach shall be 48 inches maximum and the low forward reach shall be 15 inches minimum
               above the finish floor or ground.
 VI.     INACCESSIBLE RESTROOMS. INACCESSIBLE TRAVEL PATH LEADING TO RESTROOMS.
         AN ACCESSIBLE ROUTH LEADING TO RESTROOM NOT PROVIDED. REQUIRED
         MINIMUM CLEAR WIDTH NOT PROVIDED AT TRAVEL PATH LEADING TO RESTROOMS.
            a. Accessible routes shall comply with 402. Accessible routes shall consist of one or mote of the
               following components: walking surfaces with a running slope not steeper than 1:20, doorways,
               ramps, curb ramps, excluding the flared sides, elevators, and platform lifts. All components of
               an accessible route shall comply with the applicable requirements of Chapter 4. Walking
               surfaces that are a part of an accessible route shall comply with 403. Except as provided in
               403.5.2 and 403.5.3, the clear width of walking surfaces shall be 36 inches (915 mm)
               minimum.
VII.     COMPLIANT SIGNAGE IDENTIFYING THE RESTROOM NOT PROVIDED AS REQUIRED.
            a. Signs shall be provided in accordance with 216 and shall comply with 703. Interior and exterior
               signs identifying permanent rooms and spaces shall comply with 703.1, 703.2, and 703.5.
               Where pictograms are provided as designations of permanent interior rooms and spaces, the
               pictograms shall comply with 703.6 and shall have text descriptors complying with 703.2 and
               703.5. Section 216.2 applies to signs that provide designations, labels, or names for interior
               rooms or spaces where the sign is not likely to change over time. Examples include interior
               signs labeling restrooms, room and floor numbers or letters, and room names. Tactile text
               descriptors are required for pictograms that are provided to label or identify a permanent room
               or space. Pictograms that provide information about a room or space, such as “no smoking,”
               occupant logos, and the International Symbol of Accessibility, are not required to have text
               descriptors. Signs shall comply with 703. Where both visual and tactile characters are required,
               either one sign with both visual and tactile characters, or two separate signs, one with visual,
               and one with tactile characters, shall be provided. Tactile characters on signs shall be located
               48 inches (1220 mm) minimum above the finish floor or ground surface, measured from the
               baseline of the lowest tactile character and 60 inches (1525 mm) maximum above the finish
               floor or ground surface, measured from the baseline of the highest tactile character. Where a
               tactile sign is provided at a door, the sign shall be located alongside the door at the latch side.
               Where a tactile sign is provided at double doors with one active leaf, the sign shall be located
               on the inactive leaf. Where a tactile sign is provided at double doors with two active leafs, the
               sign shall be located to the right of the right hand door. Where there is no wall space at the
               latch side of a single door or at the right side of double doors, signs shall be located on the
               nearest adjacent wall. Signs containing tactile characters shall be located so that a clear floor
               space of 18 inches (455 mm) minimum by 18 inches (455 mm) minimum, centered on the
               tactile characters, is provided beyond the arc of any door swing between the closed position
               and 45 degree open position.
VIII.    NON-COMPLIANT DOOR KNOB AT DOOR OF THE RESTROOMS REQUIRES TWISTING OF
         THE WRIST.
            a. Handles, pulls, latches, locks, and other operable parts on doors and gates shall comply with
               309.4. Operable parts shall be operable with one hand and shall not require tight grasping,

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              pinching, or twisting of the wrist. The force required to activate operable parts shall be 5
              pounds maximum.
IX.     NON-COMPLIANT DOOR LOCK AT RESTROOM DOOR REQUIRES TWISTING OF THE
        WRIST.
           a. Handles, pulls, latches, locks, and other operable parts on doors and gates shall comply with
              309.4. Operable parts shall be operable with one hand and shall not require tight grasping,
              pinching, or twisting of the wrist. The force required to activate operable parts shall be 5
              pounds maximum.
 X.     INACCESSIBLE MIRROR IN THE RESTROOM. NON COMPLIANT MOUNTED HEIGHT OF
        MIRROR IN THE RESTROOM EXCEEDS MAXIMUM HEIGHT ALLOWANCE.
           a. Mirrors located above lavatories or countertops shall be installed with the bottom edge of the
              reflecting surface 40 inches (1015 mm) maximum above the finish floor or ground. Mirrors
              not located above lavatories or countertops shall be installed with the bottom edge of the
              reflecting surface 35 inches (890 mm) maximum above the finish floor or ground.
XI.     INACCESSIBLE PAPER TOWEL DISPENSER IN THE RESTROOMS. NON COMPLIANT
        MOUNTED HEIGHT OF PAPER TOWEL DISPENSER IN THE RESTROOMS EXCEEDS
        MAXIMUM HEIGHT ALLOWANCE.
           a. If soap and towel dispensers are provided, they must be located within the reach ranges
              specified in 308. Where a forward reach is unobstructed, the high forward reach shall be 48
              inches maximum and the low forward reach shall be 15 inches minimum above the finish floor
              or ground. Where a high forward reach is over an obstruction, the clear floor space shall extend
              beneath the element for a distance not less than the required reach depth over the obstruction.
              The high forward reach shall be 48 inches maximum where the reach depth is 20 inches
              maximum. Where the reach depth exceeds 20 inches, the high forward reach shall be 44 inches
              maximum and the reach depth shall be 25 inches maximum. Where a clear floor or ground
              space allows a parallel approach to an element and the side reach is unobstructed, the high side
              reach shall be 48 inches maximum and the low side reach shall be 15 inches minimum above
              the finish floor or ground. Where a clear floor or ground space allows a parallel approach to
              an element and the high side reach is over an obstruction, the height of the obstruction shall be
              34 inches maximum and the depth of the obstruction shall be 24 inches maximum. The high
              side reach shall be 48 inches maximum for a reach depth of 10 inches maximum. Where the
              reach depth exceeds 10 inches, the high side reach shall be 46 inches maximum for a reach
              depth of 24 inches maximum.
XII.    REQUIRED GRAB BARS NOT PROVIDED ON REAR AND SIDE WALLS OF WATER
        CLOSET
           a. Grab bars for water closets shall comply with 609. Grab bars shall be provided on the
              side wall closest to the water closet and on the rear wall.

               23.      The above listing is not to be considered all-inclusive of the barriers, which

        exist at the Premises.

               24.      Upon information and belief, a full inspection of the defendants’ place of public

        accommodation will reveal the existence of other barriers to access.

               25.      As required by the ADA (remedial civil rights legislation) to properly remedy

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 defendants’ discriminatory violations and avoid piecemeal litigation, plaintiff requires a full

 inspection of the defendants’ public accommodation in order to catalogue and cure all of the

 areas of non-compliance with the ADA. Notice is therefore given that plaintiff intends on

 amending the Complaint to include any violations discovered during an inspection that are not

 contained in this Complaint.

         26.      Defendants have denied plaintiff the opportunity to participate in or benefit

 from services or accommodations because of a disability.

         27.      Defendants have not satisfied their statutory obligation to ensure that their

 policies, practices, procedures for persons with disabilities are compliant with the laws. Nor

 have defendants made or provided reasonable accommodations or modifications to persons

 with disabilities.

         28.      Plaintiff has a realistic, credible and continuing threat of discrimination from

 the defendants’ non-compliance with the laws prohibiting disability discrimination. The

 barriers to access within defendants' place of public accommodation continue to exist and deter

 plaintiff.

         29.      Plaintiff frequently travels to the area where defendants’ place of public

 accommodation is located.

         30.      Plaintiff intends to patronize the defendants’ place of public accommodation

 several times a year after it becomes fully accessible.

                           FIRST CAUSE OF ACTION
          (VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT)

         31.      Plaintiff realleges and incorporates by reference all allegations set forth in this

 Complaint as if fully set forth herein.

         32.      Plaintiff is substantially limited in the life activity of both walking and body


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 motion range and thus has a disability within the meaning of the ADA. As a direct and

 proximate result of plaintiff’s disability, plaintiff uses a wheelchair for mobility, and also has

 restricted range of motion.

         33.      The ADA imposes joint and several liability on both the property owner and

 lessee of a public accommodation. 28 C.F.R. 36.201(b).

         34.      Under the ADA, both the property owner and lessee are liable to the plaintiff

 and neither can escape liability by transferring their obligations to the other by contract (i.e.

 lease agreement). 28 C.F.R. 36.201(b).

         35.      Defendants have and continue to subject plaintiff to disparate treatment by

 denying plaintiff full and equal opportunity to use their place of public accommodation all

 because plaintiff is disabled. Defendants’ policies and practices have disparately impacted

 plaintiff as well.

         36.      By failing to comply with the law, defendants have articulated to disabled

 persons such as the plaintiff that they are not welcome, objectionable and not desired as patrons

 of their public accommodation.

         37.      Defendants have discriminated against the plaintiff by designing and/or

 constructing a building, facility and place of public accommodation that is not readily

 accessible to and usable by the disabled plaintiff and not fully compliant with the 1991

 Standards or the 2010 Standards. See 28 C.F.R. § 36.401(A)(1) and 42 U.S.C.

         §12183(a)(1).

         38.      Defendants’ place of public accommodation is not fully accessible and fails to

 provide an integrated and equal setting for the disabled, all in violation of 42 U.S.C.

 §12182(b)(1)(A) and 28 C.F.R. § 36.203.

         39.      Upon making alterations to their public accommodation, defendants failed to

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  make their place of public accommodation accessible to plaintiff to the maximum extent

  feasible in violation of 28 C.F.R. §§ 36.402 and 36.406.

         40.      Upon making these alterations to the primary function areas, defendants failed

  to make the paths of travel to the primary function areas accessible to plaintiff, in violation of

  28 C.F.R. § 36.403.

         41.      28 C.F.R. § 36.406(5) requires defendants to make the facilities and elements

  of their noncomplying public accommodation accessible in accordance with the 2010

  Standards.

         42.      Defendants failed to make all readily achievable accommodations and

  modifications to remove barriers to access in violation of 28 C.F.R. § 36.304. It would be

  readily achievable to make defendants’ place of public accommodation fully accessible.

         43.      By failing to remove the barriers to access where it is readily achievable to do

  so, defendants have discriminated against plaintiff on the basis of disability in violation of §

  302(a) and 302(b)(2)(A)(iv) of the ADA, 42 U.S.C. § 12182(a), (b)(2)(A)(iv), and 28 C.F.R.

  § 36.304.

         44.      In the alternative, defendants have violated the ADA by failing to provide

  plaintiff with reasonable alternatives to barrier removal as required by 28 C.F.R. § 36.305.

         45.      Defendants’ failure to remove the barriers to access constitutes a pattern and

  practice of disability discrimination in violation of 42 U.S.C. § 12181 et. seq., and 28

         C.F.R § 36.101 et. seq.

         46.      Defendants have and continue to discriminate against plaintiff in violation of

  the ADA by maintaining and/or creating an inaccessible public accommodation.



                        SECOND CAUSE OF ACTION
           (VIOLATIONS OF THE NEW YORK STATE EXECUTIVE LAW)
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          47.       Plaintiff realleges and incorporates by reference all allegations set forth in this

  Complaint as if fully set forth herein.

          48.       Plaintiff suffers from various medical conditions that separately and together

  prevent the exercise of normal bodily functions in plaintiff; in particular, the life activities of

  both walking and body motion range. Plaintiff therefore suffers from a disability within the

  meaning of the Executive Law § 296(21).

          49.       Defendants have and continue to subject plaintiff to disparate treatment by

  denying plaintiff equal opportunity to use their place of public accommodation all because

  plaintiff is disabled.

          50.       Defendants discriminated against plaintiff in violation of New York State

  Executive Law § 296(2), by maintaining and/or creating an inaccessible place of public

  accommodation. Each of the defendants have aided and abetted others in committing disability

  discrimination.

          51.       Defendants have failed to make all readily achievable accommodations and

  modifications to remove barriers to access in violation of Executive Law §

  296(2)(c)(iii).

          52.       In the alternative, defendants have failed to provide plaintiff with reasonable

  alternatives to barrier removal as required in violation of Executive Law § 296(2)(c)(iv).

          53.       It would be readily achievable to make defendants’ place of public

  accommodation fully accessible.

          54.       It would not impose an undue hardship or undue burden on defendants to make

  their place of public accommodation fully accessible.

          55.       As a direct and proximate result of defendants' unlawful discrimination in

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  violation of New York State Executive Law, plaintiff has suffered, and continues to suffer

  emotional distress, including but not limited to humiliation, embarrassment, stress, and

  anxiety.

         56.      Plaintiff has suffered and will continue to suffer damages in an amount to be

  determined at trial.



                              THIRD CAUSE OF ACTION
        (VIOLATIONS OF THE ADMINISTRATIVE CODE OF THE CITY OF
                                      NEW YORK)
         57.  Plaintiff realleges and incorporates by reference all allegations set forth in this

  Complaint as if fully set forth herein.

         58.      Plaintiff suffers from various medical conditions that separately and

         together, impair plaintiff’s bodily systems - in particular, the life activity of both

  walking and body motion range -and thus plaintiff has a disability within the meaning of the

  Administrative Code § 8-102(16).

         59.      The Local Civil Rights Restoration Act of 2005 (the “Restoration Act”), also

  known as Local Law 85, clarified the scope of the Administrative Code in relation

         to the New York City’s Human Rights Law. The Restoration Act confirmed the

  legislative intent to abolish “parallelism” between the Administrative Code and the Federal

  and New York State anti-discrimination laws by stating as follows:

         The provisions of this title shall be construed liberally for the accomplishment of the

  uniquely broad and remedial purposes thereof, regardless of whether federal or New York

  State civil and human rights laws, including those laws with provisions comparably-worded

  to provisions of this title, have been so construed.

         Restoration Act § 7 amending Administrative Code §8-130 (emphasis added). The


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  Restoration Act is to be construed broadly in favor of plaintiff to the fullest extent possible.

         60.     Defendants have and continue to subject plaintiff to disparate treatment and

  disparate impact by directly and indirectly refusing, withholding, and denying the

  accommodations, advantages, facilities, and privileges of their place of public accommodation

  all because of disability in violation of the Administrative Code § 8- 107(4). Each of the

  defendants have aided and abetted others in committing disability discrimination.

         61.      Defendants have discriminated, and continue to discriminate, against plaintiff

  in violation of the Administrative Code § 8-107(4) by designing, creating and/or maintaining

  an inaccessible commercial facility/space.

         62.      Defendants have subjected, and continue to subject, plaintiff to disparate

  treatment by directly and indirectly refusing, withholding, and denying the accommodations,

  advantages, facilities, and privileges of their commercial facility/space all because of disability

  in violation of the Administrative Code § 8-107(4).

         63.      In violation of Administrative Code § 8-107(6), defendants have and continue

  to, aid and abet, incite, compel or coerce each other in each of the other

         defendants’ attempts to, and in their acts of directly and indirectly refusing,

  withholding, and denying the accommodations, advantages, facilities, and privileges of their

  commercial facility/space and the place of public accommodation therein, all because of

  disability, as well as other acts in violation of the Administrative Code.

         64.      Defendants discriminated against plaintiff in violation of the Administrative

  Code, § 8-107(4), and Local Law 58 by maintaining and/or creating an inaccessible public

  accommodation.

         65.      As a direct and proximate result of defendants' unlawful discrimination in

  violation of the Administrative Code, plaintiff has suffered, and continues to suffer emotional

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  distress, including but not limited to humiliation, stress, and embarrassment.

         66.     Upon information and belief, defendants’ long-standing refusal to make their

  place of public accommodation fully accessible was deliberate, calculated, egregious, and

  undertaken with reckless disregard to plaintiff’s rights under the Administrative Code.

         67.       By failing to comply with the law in effect for decades, defendants have

  articulated to disabled persons such as the plaintiff that they are not welcome, objectionable

  and not desired as patrons of their public accommodation.

         68.       Defendants engaged in discrimination with willful or wanton negligence,

  and/or recklessness, and/or a conscious disregard of the rights of others and/or conduct so

  reckless as to amount to such disregard for which plaintiff is entitled to an award of punitive

  damages pursuant to Administrative Code § 8-502.

         69.       By refusing to make their place of public accommodation accessible,

  defendants have unlawfully profited from their discriminatory conduct by collecting revenue

  from a non-compliant space and pocketing the money that they should have

         lawfully expended to pay for a fully compliant and accessible space. Defendants’

  unlawful profits plus interest must be disgorged.

         70.       Plaintiff has suffered and will continue to suffer damages in an amount to be

  determined at trial.

                           FOURTH CAUSE OF ACTION
         (VIOLATIONS OF THE NEW YORK STATE CIVIL RIGHTS LAW)
         71.  Plaintiff realleges and incorporates by reference all allegations set in this

  Complaint as if fully set forth herein.

         72.       Defendants discriminated against plaintiff pursuant to New York State

  Executive Law.

         73.       Consequently, plaintiff is entitled to recover the monetary penalty prescribed

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  by Civil Rights Law §§ 40-c and 40-d for each and every violation.

                                       INJUNCTIVE RELIEF
         74.      Plaintiff will continue to experience unlawful discrimination as a result of

  defendants' failure to comply with the above-mentioned laws. Therefore, injunctive relief is

  necessary to order defendants to alter and modify their place of public accommodation and

  their operations, policies, practices and procedures.

         75.      Injunctive relief is also necessary to make defendants' facilities readily

  accessible to and usable by plaintiff in accordance with the above-mentioned laws.

         76.      Injunctive relief is further necessary to order defendants to provide auxiliary

  aids or services, modification of their policies, and/or provision of alternative methods, in

  accordance with the ADA, Executive Law and the Administrative Code.

                                   DECLARATORY RELIEF
         77.      Plaintiff is entitled to a declaratory judgment concerning each of the

  accessibility violations committed by defendants against plaintiff and as to required alterations

  and modifications to defendants’ place of public accommodation, facilities, goods and

  services, and to defendants’ policies, practices, and procedures.

                     ATTORNEY’S FEES, EXPENSES AND COSTS
         78.      In order to enforce plaintiff’s rights against the defendants, plaintiff has

  retained counsel and is entitled to recover attorney’s fees, expenses and costs pursuant to the

  ADA and the Administrative Code. 42 U.S.C. §12205; 28 C.F.R. §36.505; and Administrative

  Code § 8-502.

                                    PRAYER FOR RELIEF

         WHEREFORE, plaintiff respectfully requests that the Court enter a judgment against

  the defendants, jointly and severally, in favor of plaintiff that contains the following relief:

                        i.       Enter declaratory judgment declaring that defendants

                  have violated the ADA and its implementing regulations, Executive
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              Law and Administrative Code and declaring the rights of plaintiff as to

              defendants' place of public accommodation, and defendants’ policies,

              practices and procedures;

                   ii.       Issue a permanent injunction ordering defendants to

              close and cease all business until defendants remove all violations of

              the ADA, the 1991 Standards or the 2010 Standards, Executive Law

              and Administrative Code, including but not limited to the violations set

              forth above;

                   iii.      Retain jurisdiction over the defendants until the Court is

              satisfied that the defendants' unlawful practices, acts and omissions no

              longer exist and will not reoccur;

                   iv.       Award of compensatory damages in an amount to be

              determined at trial;

                    v.       Award plaintiff punitive damages in order to punish and

              deter the defendants for their violations of the Administrative Code of

              the City of New York;

                   vi.       Award reasonable attorney’s fees, costs and expenses

              pursuant to the Administrative Code;

                  vii.       Find that plaintiff is a prevailing party in this litigation

              and award reasonable attorney’s fees, costs and expenses pursuant to the

              ADA; and

                 viii.       For such other and further relief, at law or in equity, to

              which plaintiff may be justly entitled.



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  Dated: August 20, 2021

        Brooklyn, New York




                                           Respectfully submitted,


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